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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 CHARLOTTE LOQUASTO, et al.,    §
                                §
    Plaintiffs,                 §
                                §
 v.                             §                   CIVIL ACTION NO. 3:19-CV-1455-B
                                §                   (Consolidated with 3:19-CV-1624-B)
 FLUOR CORPORATION, INC.,       §
 FLUOR ENTERPRISES, INC., FLUOR §
 GOVERNMENT GROUP, INC.,        §
 FLUOR INTERCONTINENTAL,        §
 INC., and ALLIANCE PROJECT     §
 SERVICES, INC.,                §
                                §
    Defendants.                 §

                                              ORDER

       Before the Court is the Fluor Defendants’ Motion for Leave to Designate Responsible Third

Parties (Doc. 20). Defendants seek to designate the United States Military, Ahmed Nayeb, and

unidentified “John Does” that acted as Nayeb’s accomplices or co-conspirators as responsible third

parties under Texas Civil Practice and Remedies Code § 33.004, et seq. Initially, Plaintiffs opposed

this motion. See Doc. 20, Mot. to Designate 3d Parties, 25 (Certificate of Conference). But Plaintiffs

have since filed a notice advising the Court that they no longer oppose the Fluor Defendants’

requested relief. Doc. 30, Notice of Non-Opposition. Because the motion is no longer opposed, the

Court GRANTS Defendants LEAVE to designate the United States Military, Ahmed Nayeb, and

the unknown criminal actors as responsible third parties under § 33.004. See Strickland v. Buffalo Wild

Wings, Inc., 2015 WL 4269968, at *2 (N.D. Tex. July 14, 2015) (collecting authority).




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   SO ORDERED.

   SIGNED: September 27, 2019.



                                 ______________________________
                                 JANE J. BOYLE
                                 UNITED STATES DISTRICT JUDGE




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